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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MATTHEW STEIN,                          )
                                        )
      Plaintiff,                        )
                                        )        CIVIL ACTION
v.                                      )
                                        )        FILE No. 1:21-cv-02447-MLB
CANDLER PARK                            )
VENTURES, LLC                           )
                                        )
      Defendant.                        )

                           NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that all claims pending in this matter have been

resolved to the satisfaction of Plaintiff and Defendant. Plaintiff hereby respectfully

requests that this Court allow sixty (60) days within which to complete the

settlement, during which time Plaintiff requests that the Court retain jurisdiction over

this matter until fully resolved. Should Plaintiff not move to reinstate the case or

seek other Court intervention in the next sixty (60) days, Plaintiff requests the Court

dismiss this case with prejudice at that time.

                                        Dated: August 5, 2021.

                                        Respectfully submitted,

                                        /s/Craig J. Ehrlich
                                        Craig J. Ehrlich
                                        Georgia Bar No. 242240

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                         CERTIFICATE OF SERVICE

      I certify that on August 5, 2021, I filed the within and foregoing Notice of

Settlement using the CM/ECF System for the federal District Court for the Northern

District of Georgia. A true and correct copy of the same will be served upon the

following party via electronic mail:

Christine Green, Esq.
Stanton Law, LLC
410 Plasters Avenue, Suite 200
Atlanta, Georgia 30324
christine.green@stantonlawllc.com

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

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